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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

ESTES EXPRESS LINES,

      Plaintiff,

v.                                                   Case No: 8:19-cv-467-CEH-AEP

COVERLEX, INC.,

      Defendant.
                                        /

                                     ORDER

      This cause comes before the Court upon the Report and Recommendation filed

by Magistrate Judge Anthony E. Porcelli on August 3, 2021 (Doc. 62). In the Report

and Recommendation, Magistrate Judge Porcelli recommends that Defendant’s

Motion to Quash Service of Process and Set Aside Final Default Judgment (Doc. 46)

be denied. All parties were furnished copies of the Report and Recommendation and

were afforded the opportunity to file objections pursuant to 28 U.S.C. § 636(b)(1). No

such objections were filed.

      Upon consideration of the Report and Recommendation, and upon this Court's

independent examination of the file, it is determined that the Report and

Recommendation should be adopted. Accordingly, it is now

      ORDERED AND ADJUDGED:

      (1)    The Report and Recommendation of the Magistrate Judge (Doc. 62) is

             adopted, confirmed, and approved in all respects and is made a part of

             this Order for all purposes, including appellate review.
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      (2)   Defendant’s Motion to Quash Service of Process and Set Aside Final

            Default Judgment (Doc. 46) is denied.

      DONE AND ORDERED at Tampa, Florida on August 20, 2021.




Copies to:
The Honorable Anthony E. Porcelli
Counsel of Record




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